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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ALABAMA
                                  MOBILE DIVISION



BROADCAST MUSIC, INC.; HOWE SOUND
MUSIC PUBLISHING, LLC d/b/a CYPRESS
PARK MUSIC; STEPHANIE NICKS, d/b/a
WELSH WITCH MUSIC; PRIMARY WAVE                       CIVIL ACTION NO.:
MUSIC IP FUND 2 GP, LLC and PWMP
VENTURES LLC, d/b/a PRIMARY WAVE                      COMPLAINT
BOPS; RONNIE GENE DUNN, d/b/a
SHOWBILLY MUSIC; WARNER-
TAMERLANE PUBLISHING CORP.; OBED
WAYNE KIRKPATRICK d/b/a MAD
MOTHER MUSIC;
                 Plaintiffs,

       v.

THE RIVER SHACK, LLC d/b/a THE RIVER
SHACK; MATTHEW LERSCH; and GERALD
PHILLIPS;

                      Defendants.



              Plaintiffs, by their attorneys, for their Complaint against Defendants, allege as

follows (on knowledge as to Plaintiffs; otherwise on information and belief):

                                  JURISDICTION AND VENUE

       1.      This is a suit for copyright infringement under the United States Copyright Act of

1976, as amended, 17 U.S.C. Sections 101 et seq. (the “Copyright Act”).              This Court has

jurisdiction pursuant to 28 U.S.C. Section 1338(a).

       2.      Venue is proper in this judicial district pursuant to 28 U.S.C. Section 1400(a).
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                                            THE PARTIES

        3.      Plaintiff Broadcast Music, Inc. (“BMI”), is a corporation organized and existing

under the laws of the State of Delaware. BMI’s principal place of business is 7 World Trade

Center, 250 Greenwich Street, New York, New York 10007. BMI has been granted the right to

license the public performance rights in 20.6 million copyrighted musical compositions (the “BMI

Repertoire”), including those which are alleged herein to have been infringed.

        4.      The Plaintiffs other than BMI are the owners of the copyrights in the musical

compositions, which are the subject of this lawsuit. All Plaintiffs are joined pursuant to Fed. R. Civ.

P. 17(a) and 19(a).

        5.      Plaintiff Howe Sound Music Publishing, LLC is a corporation d/b/a/ Cypress Park

Music. This Plaintiff is a copyright owner of at least one of the songs in this matter.

        6.      Plaintiff Welsh Witch Music is a sole proprietorship owned by Stephanie Nicks.

Plaintiff Welsh Witch Music is a copyright owner of at least one of the songs in this matter.

        7.      Plaintiff Primary Wave Bop is a partnership owned by Primary Wave Music IP

Fund 2 GP, LLC and PWMP Ventures, LLC. This Plaintiff is a copyright owner of at least one of

the songs in this matter.

        8.      Plaintiff Showbilly Music is a sole proprietorship owned by Ronnie Gene Dunn.

This Plaintiff is a copyright owner of at least one of the songs in this matter.

        9.      Plaintiff Warner-Tamerlane Publishing Corporation is a corporation. This Plaintiff

is a copyright owner of at least one of the songs in this matter.

        10.     Plaintiff Mad Mother Music is a sole proprietorship owned by Obed Wayne

Kirkpatrick. This Plaintiff is a copyright owner of at least one of the songs in this matter.



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        11.      Defendant The River Shack, LLC is a limited liability company organized and

existing under the laws of the state of Alabama, which operates, maintains, and controls an

establishment known as The River Shack, located at 6120 Marina Drive S. Mobile, Alabama,

36605, in this district (the “Establishment”).

        12.      In connection with the operation of the Establishment, Defendant The River Shack,

LLC publicly performs musical compositions and/or causes musical compositions to be publicly

performed.

        13.      Defendant Matthew Lersch is a member of Defendant The River Shack, LLC with

responsibility for the operation and management of that limited liability company and the

Establishment.

        14.      Defendant Gerald Phillips is a member of Defendant The River Shack, LLC with

responsibility for the operation and management of that limited liability company and the

Establishment.

        15.      Defendants Matthew Lersch and Gerald Phillips have the right and ability to

supervise the activities of Defendant The River Shack, LLC and a direct financial interest in that

limited liability company and the Establishment.

                           CLAIMS OF COPYRIGHT INFRINGEMENT

        16.      Plaintiffs repeat and reallege each of the allegations contained in paragraphs 1

through 15.

        17.      Since August 2022, BMI has reached out to Defendants over forty (40) times, by

phone, mail, and email, in an effort to educate Defendants as to their obligations under the

Copyright Act with respect to the necessity of purchasing a license for the public performance of



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musical compositions in the BMI Repertoire. Included in the letters were Cease and Desist Notices,

providing Defendants with formal notice that they must immediately cease all use of BMI-licensed

music in the Establishment.

        18.     Plaintiffs allege four (4) claims of willful copyright infringement, based upon

Defendant’s unauthorized public performance of musical compositions from the BMI Repertoire.

All of the claims for copyright infringement joined in this Complaint are governed by the same legal

rules and involve similar facts. Joinder of these claims will promote the convenient administration

of justice and will avoid a multiplicity of separate, similar actions against Defendants.

        19.     Annexed to this Complaint as a schedule (the “Schedule”) and incorporated herein is

a list identifying some of the many musical compositions whose copyrights were infringed by

Defendants. The Schedule contains information on the four (4) claims of copyright infringement at

issue in this action.   Each numbered claim has the following eight lines of information (all

references to “Lines” are lines on the Schedule): Line 1 providing the claim number; Line 2 listing

the title of the musical composition related to that claim; Line 3 identifying the writer(s) of the

musical composition; Line 4 identifying the publisher(s) of the musical composition and the

plaintiff(s) in this action pursuing the claim at issue; Line 5 providing the date on which the

copyright registration was issued for the musical composition; Line 6 indicating the copyright

registration number(s) for the musical composition; Line 7 showing the date(s) of infringement; and

Line 8 identifying the Establishment where the infringement occurred.

        20.     For each work identified on the Schedule, the person(s) named on Line 3 was the

creator of that musical composition.




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        21.      For each work identified on the Schedule, on or about the date(s) indicated on

Line 5, the publisher(s) named on Line 4 (including any predecessors in interest), complied in all

respects with the requirements of the Copyright Act and received from the Register of Copyrights

Certificates of Registration bearing the number(s) listed on Line 6.

        22.      For each work identified on the Schedule, on the date(s) listed on Line 7, Plaintiff

BMI was (and still is) the licensor of the public performance rights in the musical composition

identified on Line 2. For each work identified on the Schedule, on the date(s) listed on Line 7, the

Plaintiff(s) listed on Line 4 was (and still is) the owner of the copyright in the respective musical

composition listed on Line 2.

        23.      For each work identified on the Schedule, on the date(s) listed on Line 7, Defendants

publicly performed and/or caused to be publicly performed at the Establishment the musical

composition identified on Line 2 without a license or permission to do so. Thus, Defendants have

committed copyright infringement.

        24.      The specific acts of copyright infringement alleged in the Complaint, as well as

Defendants’ entire course of conduct, have caused and are causing Plaintiffs great and incalculable

damage.       By continuing to provide unauthorized public performances of works in the BMI

Repertoire at the Establishment, Defendants threaten to continue committing copyright

infringement. Unless this Court restrains Defendants from committing further acts of copyright

infringement, Plaintiffs will suffer irreparable injury for which they have no adequate remedy at

law.




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          WHEREFORE, Plaintiffs pray that:

          (I)     Defendants, their agents, servants, employees, and all persons acting under their

permission and authority, be enjoined and restrained from infringing, in any manner, the

copyrighted musical compositions licensed by BMI, pursuant to 17 U.S.C. Section 502;

          (II)    Defendants be ordered to pay statutory damages, pursuant to 17 U.S.C. Section

504(c);

          (III)   Defendants be ordered to pay costs, including a reasonable attorney’s fee, pursuant

to 17 U.S.C. Section 505; and

          (IV) Plaintiffs have such other and further relief as is just and equitable.



Dated: October 5, 2023                                  JAMES P. PEWITT, LLC

                                                        /s/ James P. Pewitt.
                                                        James P. Pewitt
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                                               Schedule

Line 1     Claim No.                                      1

Line 2     Musical Composition       Family Tradition

Line 3     Writer(s)                 Hank Williams, Jr.

Line 4     Publisher Plaintiff(s)    Howe Sound Music Publishing LLC d/b/a Cypress Park Music

Line 5     Date(s) of Registration   2/8/79

Line 6     Registration No(s).       PA 32-171

Line 7     Date(s) of Infringement   06/18/2023

Line 8     Place of Infringement     The River Shack




Line 1     Claim No.                                      2

Line 2     Musical Composition       Leather And Lace

Line 3     Writer(s)                 Stephanie Nicks a/k/a Stevie Nicks

Line 4     Publisher Plaintiff(s)    Stephanie Nicks, an individual d/b/a Welsh Witch Music; Primary Wave Music IP Fund 2
                                     GP, LLC and PWMP Ventures LLC, a Limited Partnership d/b/a Primary Wave Bops

Line 5     Date(s) of Registration   9/27/76     10/23/81

Line 6     Registration No(s).       Eu 720079 PA 119-232

Line 7     Date(s) of Infringement   06/18/2023

Line 8     Place of Infringement     The River Shack
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Line 1     Claim No.                                   3

Line 2     Musical Composition       Neon Moon

Line 3     Writer(s)                 Ronnie Dunn

Line 4     Publisher Plaintiff(s)    Ronnie Gene Dunn, an individual d/b/a Showbilly Music

Line 5     Date(s) of Registration   9/16/91

Line 6     Registration No(s).       PA 536-368

Line 7     Date(s) of Infringement   06/18/2023

Line 8     Place of Infringement     The River Shack




Line 1     Claim No.                                   4

Line 2     Musical Composition       Little White Church

Line 3     Writer(s)                 Karen Fairchild; Kimberly Schlapman; Phillip Sweet; Jimi Westbrook; Wayne Kirkpatrick

Line 4     Publisher Plaintiff(s)    Warner-Tamerlane Publishing Corp.; Obed Wayne Kirkpatrick, an individual d/b/a Mad
                                     Mother Music

Line 5     Date(s) of Registration   12/3/10

Line 6     Registration No(s).       PA 1-722-900

Line 7     Date(s) of Infringement   06/18/2023

Line 8     Place of Infringement     The River Shack
